               Case 21-60280             Doc 18-1     Filed 07/21/21           Entered 07/21/21 14:23:58    Desc Service
Label Matrix for local noticing                     AFCO (20)List     Page 1 of 2                 Byzfunder NY LLC (20)
0540-6                                              P. O. Box 887200                              263 West 38th Street
Case 21-60280                                       Los Angeles, CA 90088-7200                    New York, NY 10018-4483
Eastern District of Texas
Tyler
Wed Jul 21 12:29:35 CDT 2021
(c)CORRY DAVIS MARKETING, INC.                      Dale Murphy and Leslie Rives (20)             David Artzt (20)
542 E DALLAS ST                                     119 PR 8119                                   5707 Stage Line Drive
CANTON TX 75103-3300                                Canton, TX 75103                              Arlington, TX 76017-1124



Engie Resources LLC (20)                            Firstinline Capital                           Frontier Communications (20)
1360 Post Oak Road, Suite 400                       8605 Santa Monica Boulevard #35679            P. O. Box 709
Houston, Texas 77056-3030                           Los Angeles, CA 90069-4109                    Windsor, CT 06074-0709



GE Capital Information Technology Soluti            Michael E. Gazette                            H. Clinton Milner, PLLC
P. O. Box 35701                                     100 East Ferguson Street                      Attorney at Law
Billings, MT 59107-5701                             Ste. 1000                                     P.O. Box 801031
                                                    Tyler, TX 75702-5706                          Dallas, Texas 75380-1031


Internal Revenue Service                            Jere Ward Bookkeeping (20)                    Kapitus, LLC (20)
P. O. Box 7346                                      3017 Hillcrest Drive                          2500 Wilson Boulevard, Suite 350
Philadelphia, PA 19101-7346                         Irving, TX 75062-6930                         Arlington, Virginia 22201-3873



LBC1 Trust                                          LBC1 Trust                                    LCB1 Trust
c/o H. Clinton Milner, PLLC                         106 East Chestnut Street                      106 East Chestnut Street
P.O. Box 801031                                     Stillwater, MN 55082-5116                     Stillwater, MN 55082-5116
Dallas, TX 75380-1031


H. Clinton Milner                                   H. Thomas Moran (SBRA V) III                  Marcus Salitore
H. Clinton Milner, PLLC                             736 Highway 87                                US Trustee Office
PO Box 801031                                       PO Box 2966                                   110 N. College Ave., Room 300
Dallas, TX 75380-1031                               Gilchrist, TX 77617-2966                      Tyler, TX 75702-7231


Laurie A. Spindler                                  Susan Matassa (20)                            Tom Benton Jackson III
Linebarger, Goggan, Blair & Sampson                 354 VZCR 4106                                 1461 County Road 121
2777 N. Stemmons Frwy Ste 1000                      Canton, Texas 75103                           Kaufman, TX 75142-5032
Dallas, TX 75207-2328


U.S. Attorney General                               US Trustee                                    United States Trustee’s Office
Department of Justice                               Office of the U.S. Trustee                    110 North College Avenue, Suite 300
Main Justice Building                               110 N. College Ave.                           Tyler, TX 75702-7231
10th & Constitution Ave., NW                        Suite 300
Washington, DC 20530-0001                           Tyler, TX 75702-7231

Van Zandt CAD                                       Van Zandt County Appraisal District           Ward, Asel and Associates, P.C. (20)
Linebarger Goggan Blair & Sampson, LLP              27867 West Highway 64                         5485 Belt Line Road #290
c/o Laurie A. Spindler                              Canton, TX 75103                              Dallas, TX 75254-7997
2777 N. Stemmons Freeway
Suite 1000
Dallas, TX 75207-2328
               Case 21-60280             Doc 18-1      Filed 07/21/21 Entered 07/21/21 14:23:58                     Desc Service
                                                             List Page 2 of 2
                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).


Corry Davis Marketing, Inc.
542 East Highway 64
Canton, TX 75103




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Van Zandt County Appraisal District               End of Label Matrix
27867 West Highway 64                                Mailable recipients    29
Canton, TX 75103                                     Bypassed recipients     1
                                                     Total                  30
